EXHIBIT F

Kozak, Lauren

From: Kozak, Lauren

Sent: Tuesday, Novem-ber 18, 2014 1:35 Pl\ii
To:

Cc:

Subject: investigative report

importance: High

Hi '

Aft-er reviewing your requested changes to the investigative report., we have made some changes to the report. For your
reference, l addressed each of the requests below:

l

Re-inte-rview ' regarding timing: We asked “ during his interview about timing.
didn't remember anything about the time and could not even give an estimate to what time he went to bed that
night. H-e explained that because it was so long ago and it was just a normal night for him he didn't have any
reason to remember specificsl He shared the only details he could remember. U-nfo-rti.-inate|yr will not be
able to clarify timing for the report. `
lnciu-de»as a disputed fact that Complainant discussed with Respondent that she usually doesn’t sleep with
people she just met: lt is listed in the report as something that Comp|ainant disputes
Response to Respondent’s statement regarding violent reaction: l have added a footnote about the violent
reaction.
C|erification regardingl _ comment We have deleted Respondent’s reference regarding

comment li it comes up at the hearing we can clarify, but it probably isn't worth noting in the report since
it just appears in his witness notes. l think that it is clear that there wasjust a miscornmunication about that
detail y
Striking ali references to second e-ncounter: We cannot strike all references to the second encounter. There is
some relevance However, we have stricken hespondent’s comparison between the two encounters We have
also added the following policy language into the re port: ”lnclividuals with a previous or current intimate
relationship do not automatically give either initial or continued consent to sexual activity. Even in the context of
a re|_ationship, there must be mutually understandable communication that clearly indicates a willingness to
engage in sexual activity." `
|f Respondent is found not responsible we cannot take disciplinary action against him. That includes requiring
him to withdraw from a course

Piease let me know iiyou have anyquestions.

Best rega rcl.s,

Lauren'

 

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